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                           United States Bankruptcy Court
                                       District of Connecticut
                                                                                                 Filed and Entered
                                                                                                     On Docket
                                                                                                 September 5, 2019


In re:
         Jerome Oglesby West                                                                Case Number: 19−50469 jam
         Debtor*                                                                            Chapter: 7




                              NOTICE DISALLOWING AND STRIKING AMENDMENT



      A deficient Amendment to Schedules and/or Statements, Schedule I was filed in the United States Bankruptcy
Court Clerk's Office, ECF No. 32 . The debtor and/or their attorney having been informed by notice from this court of
the deficiency, including incorrect versions of forms filed and/or missing filing fee, and to date, the deficiency having
not been cured,

         Notice is given that said amendment is DISALLOWED and STRICKEN from the record.

       Notice is futher given that the debtor and/or their attorney is hereby directed to serve this Notice on those
parties given notice of the amendment.

Dated: September 5, 2019                                                                     BY THE COURT



                                                                                              Pietro Cicolini
                                                                                              Clerk of Court




United States Bankruptcy Court                                                      Tel. (203) 579−5808
District of Connecticut                                                             VCIS* (866) 222−8029
915 Lafayette Boulevard                                                             * Voice Case Information System
Bridgeport, CT 06604                                                                http://www.ctb.uscourts.gov
                                                                                    Form 131 − ts
*For the purposes of this order, "Debtor" means "Debtors" where applicable.
